     Case 2:09-cr-02054-MCA        Document 131      Filed 12/31/09    Page 1 of 38




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

             Plaintiff,

      vs.                                              No. CR 09-2054

NATHAN DAVID DEBREW, SR. et., al.,

             Defendants.



                     MEMORANDUM OPINION AND ORDER

      THIS MATTER comes before the Court on Defendant Nathan Debrew Sr.’s Motion

to Suppress [Doc. 35], filed August 5, 2009, and Defendant Nathan Debrew Jr.’s Motion to

Suppress Statement and Physical Evidence and Memorandum in Support Thereof [Doc. 50],

filed August 31, 2009. On October 28, 2009, the Court held an evidentiary hearing on

Defendants’ motions. Having fully considered the pleadings of record, the applicable law,

the evidence and arguments of counsel presented at the hearing, and otherwise being fully

advised in the premises, the Court denies the motions based upon the following findings of

fact and conclusions of law.

I. FINDINGS OF FACT

      A.     The Search of the Tractor Trailer and the Defendants’ Arrests

1.    Ben Strain is a police officer with the State of New Mexico Department of Public

      Safety, Motor Transportation Division (MTD), and has been so employed since 2003.

      [Doc. 105 at 12].
     Case 2:09-cr-02054-MCA          Document 131         Filed 12/31/09   Page 2 of 38




2.    Officer Strain’s duties include conducting inspections of commercial motor vehicles,

      a task for which he is certified through the Commercial Vehicle Safety Alliance

      (CVSA). Officer Strain became certified in 2003. [Id. at 13].

3.    As is relevant here, Officer Strain conducts Level II commercial-vehicle inspections,

      which he described as involving inspection of a truck driver’s credentials, the truck

      itself, the trailer, and the contents of the load. [Id.].

4.    Officer Strain testified that he has performed “[p]robably several thousand” Level II

      inspections. [Id. at 14]. Given that Officer Strain has been certified since 2003, I find

      and accept as credible his estimate of having performed thousands of Level II

      inspections.

5.    I take judicial notice of the description of a Level II commercial-vehicle inspection

      as set forth in the Memorandum Opinion and Order docketed as entry number 61,

      paragraph 21, in United States v. Ameth Choundoull, 09cr488 MCA (Sept. 22, 2009).

6.    On November 24, 2008, Officer Strain was on duty at the MTD Inspection Station in

      Lordsburg, New Mexico, when a tractor trailer being driven by Defendant Nathan

      Debrew Sr. entered the station at approximately 6:00 p.m. [Doc. 105 at 16].

7.    The tractor and the trailer were owned by Cook’s Moving Service Inc., as indicated

      on the vehicle. [See Exh. 3]. Mr. Debrew Sr. was an employee of Cook’s Moving

      Service. [Exh. 10 and “Recorded Interview Transcription of Nathan Debrew, Sr.”

      (hereinafter “Debrew Sr. Transcription”) at 6]. However, pursuant to a purchase

      agreement, Mr. Debrew was making payments on the tractor to Mr. Harold Cook.

                                                2
      Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09     Page 3 of 38




       [Doc. 105 at 111-112].

8.     According to Officer Strain, MTD Inspector James Tarango greeted Mr. Debrew Sr.,

       explained that Mr. Debrew Sr. would need to purchase a New Mexico permit, and

       advised that the tractor trailer was going to be inspected. [Doc. 105 at 14].

9.     Accordingly, Mr. Debrew Sr. parked his tractor trailer and handed his credentials to

       Inspector Tarango, who in turn gave them to Officer Strain. Credentials include

       tractor trailer registration, bills of lading, log books, commercial driver’s license, and

       medical cards. [Id. at 15].

10.    Officer Strain began by reviewing Mr. Debrew Sr.’s log book, which he described as

       “a record of duty status” and a reflection of the hours a trucker works. [Id.].

11.    According to Officer Strain, Mr. Debrew Sr., who was heading east, had marked in

       his log book that he had already reached El Paso, Texas at 5:30 a.m. Exhibit 1 is a

       copy of Mr. Debrew Sr.’s log book from November 24, 2008. The document appears

       to bear a notation stating “Inspection Filed El Paso.” It also shows a “From”

       destination of Hampton, Virginia, and a “To” destination of Apple Valley, California.

       There is no co-driver noted in the log book. [See Exh. 1].

12.    Officer Strain testified that because Mr. Debrew Sr. was “showing that he’s

       somewhere ahead of course whenever he’s actually in Lordsburg[,]” Officer Strain

       believed that Mr. Debrew Sr. had falsified his log book, which “raise[d] . . . a red flag

       in [his] mind.” [Doc. 105 at 17].

13.    However, Officer Strain also testified as to the “11-hour rule,” whereby truckers are

                                               3
      Case 2:09-cr-02054-MCA         Document 131      Filed 12/31/09     Page 4 of 38




       permitted to drive for 11 hours but then must “shut down” for 10 hours to avoid being

       in violation of regulations. [Id. at 46].

14.    Officer Strain testified that a trucker who is found to have violated the 11-hour rule

       will be cited and placed out of service and may, if the violation is repeated, lose his

       commercial driver’s license. [Id. at 46-47].

15.    Officer Strain also admitted that he is aware that truckers will sometimes falsely note

       in their log books that they have reached their destination before they actually have,

       in order to circumvent the 11-hour rule. [Id. at 47].

16.    Notwithstanding Officer Strain’s knowledge that drivers may falsify log books to

       circumvent the requirements of the 11-hour rule, I find and accept as credible Officer

       Strain’s testimony that Mr. Debrew Sr.’s log book for November 24, 2008 caused him

       to become suspicious. I find that it was reasonable for Officer Strain to question the

       November 24, 2008 entry, inasmuch as that entry indicated not that Mr. Debrew Sr.

       had noted a destination that he had not yet reached but, instead, indicated that Mr.

       Debrew Sr. had been in El Paso approximately 12 hours earlier, and was now headed

       back in the same easterly direction. [See Exh. 1].

17.    Officer Strain then examined Mr. Debrew Sr’s bill of lading. [Id. at 17].

18.    Exhibit 2 is a copy of Mr. Debrew Sr.’s bill of lading. It is handwritten and, under

       “Household Goods Descriptive Inventory,” indicates a customer name and a delivery

       address. Among the spaces left empty are “Contractor or Carrier,” “Origin Loading

       Address,” “Agent,” and “Van Number.” [Exh. 2].

                                               4
      Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09   Page 5 of 38




19.    Officer Strain testified that while he has seen handwritten bills of lading, they are

       usually accompanied by a typed bill of lading, and also will specify pick-up and

       delivery locations, as well as the name, address, and telephone number of the cargo

       owner. [Doc. 105 at 17-18].

20.    According to Officer Strain, none of these specifics was indicated on Mr. Debrew

       Sr.’s bill of lading, nor was Officer Strain able to identify with certainty what Mr.

       Debrew was carrying or Mr. Debrew Sr.’s delivery destination. [Id. at 18].

21.    Officer Strain admitted, however, that movers do not always pack the household

       goods that they transport, and that if the owner packs his or her own boxes, Officer

       Strain would not expect a driver such as Mr. Debrew Sr. to look through the boxes in

       order to make a detailed list of the contents. [Id. at 39].

22.    In this case, “Condition at Origin” for the boxes listed on Mr. Debrew Sr.’s bill of

       lading is indicated as “PBO,” which stands for “Packed by Owner.” [Exh. 2].

23.    When Officer Strain asked Mr. Debrew Sr. to explain the bill of lading, Mr. Debrew

       responded that “he was hauling eight boxes of—of a military load.” [Doc. 105 at 19].

       Eight boxes are listed under “Articles” on the bill of lading. [Exh. 2].

24.    Mr. Debrew Sr.’s response—that he was moving eight boxes of military household

       goods—struck Officer Strain as “[a]bsolutely” suspicious because in Officer Strain’s

       experience, military moves involve

              a lot of articles. It’s a big move. It’s—it’s taking somebody’s
              house and putting it inside of a trailer, and to be moving eight
              boxes of a military load across [the] country from California to

                                               5
      Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 6 of 38




              the east coast is just—it’s just very uncommon. It’s something
              that I’ve not seen before.

[Doc. 105 at 19].

25.    Officer Strain further testified that because military household moves are federal in

       nature, they generate a lot of paperwork, which was missing here. [Id. at 19-20].

26.    After he examined Mr. Debrew Sr.’s log book, and as he was reviewing the bill of

       lading, Officer Strain began his Level II walk-around inspection of the tractor trailer.

       Along with Inspector Tarango, Officer Strain checked the lights, the tires, “and so

       forth” and noted no violations. [Id. at 20].

27.    Officer Strain then asked Mr. Debrew Sr. to open the trailer. [Id. at 21].

28.    According to Officer Strain, as Mr. Debrew Sr. unlocked the trailer his hands were

       shaking, which Officer Strain interpreted “as a sign of nervousness. . . .” [Id. at 22].

       While Officer Strain admitted that shaking can occur for reasons other than

       nervousness (a medical condition, for example), he also testified that Mr. Debrew

       Sr.’s shaking hands nevertheless raised suspicion, particularly when considered in

       conjunction with what Officer Strain believed to be a falsified log book and a

       questionable bill of lading. [Id.].

29.    I find and accept as credible Officer Strain’s testimony that he believed Mr. Debrew

       Sr.’s hands were shaking from nervousness.

30.    When Mr. Debrew Sr. finally opened the trailer, he made a point of telling Officer

       Strain that he had spare tries in the back. [Doc. 105 at 21].


                                              6
      Case 2:09-cr-02054-MCA          Document 131       Filed 12/31/09      Page 7 of 38




31.    Officer Strain found it unusual that Mr. Debrew Sr. would call his attention to spare

       tires, since every trailer carries spare tires but no driver had ever made a point of

       drawing Officer Strain’s attention to that fact. Thus, “in [Officer Strain’s] mind, [Mr.

       Debrew Sr.] was trying to direct [Officer Strain’s] attention towards the rear of the

       trailer.”[Id. at 22-23]. At the front of the trailer were a number of boxes that appeared

       to be secured. [See Exh. 4].

32.    Additionally, Officer Strain testified that Mr. Debrew Sr. attempted to enter the

       trailer. Officer Strain testified that this is not common, usual, or typical, since drivers

       know what is in the trailer; know that Officer Strain is entering for the purpose of

       inspection; and have no reason to be in the trailer during the inspection. [Id. at 23-24].

33.    I find and accept as credible Officer Strain’s testimony that he became suspicious of

       Mr. Debrew Sr.’s behavior in (1) making a point of calling Officer Strain’s attention

       to the spare tires, and (2) attempting to enter the trailer with Officer Strain.

34.    Once inside the trailer, Officer Strain observed blanket-covered boxes. Exhibit 4

       depicts the scene after Officer Strain had moved some of the blankets out of the way.

       [Exh. 4; see also Doc. 105 at 24-25]. Officer Strain testified that when he first saw

       the boxes, all but the box in the far right back corner and the box standing upright in

       the center front, see Exh. 4, were under blankets.

35.    At the suppression hearing, Officer Strain was asked if he had ever known blankets

       to be used to separate loads being transported during a multi-load haul.               He

       responded, “Not blankets, no.” [Doc. 105 at 52].

                                                7
      Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 8 of 38




36.    Officer Strain further testified that “blankets are used to cover up furniture, cabinets,

       chest[s] of drawers, anything that—that would possibly be scratched or dented or just

       dinged up. I—I’ve not come across an instance where they needed to cover up the

       boxes.” [Id. at 25].

37.    Officer Strain did not believe that there was a securement problem with the boxes.

       Nevertheless, he decided to cut one of them open. When he did, he discovered

       cellophane-wrapped packages. Officer Strain then cut the cellophane. It was then for

       the first time that Officer Strain smelled what he believed to be marijuana. [Id. at 30-

       31].

38.    At the suppression hearing, Officer Strain identified Exhibit 5 as a depiction of

       bundles of marijuana. [Id. at 27]. I find that Exhibit 5 depicts what appears to be at

       least six cellophane-wrapped bundles. [See Exh. 5].

39.    Even though Mr. Debrew Sr.’s bill of lading indicated that he was carrying household

       goods, and at least two of the boxes in his trailer were marked “Bedroom,” see Exh.

       C; see also Doc. 105 at 41, Officer Strain believed that he was justified in opening a

       box to verify cargo contents as part of his Level II inspection. [Doc. 105 at 42].

40.    Officer Strain further testified that it is his practice to open boxes in order to verify

       cargo contents as part of a Level II inspection, regardless of whether he also possesses

       suspicion as to the contents. [Id.].

41.    After discovering the marijuana, Officer Strain placed Mr. Debrew Sr. under arrest.

       [Id. at 53].

                                               8
      Case 2:09-cr-02054-MCA            Document 131   Filed 12/31/09     Page 9 of 38




42.    It was then that Officer Strain learned that Mr. Debrew Sr.’s son, Defendant Nathan

       Debrew Jr., also was in the tractor. Officer Strain ordered Mr. Debrew Jr. out of the

       tractor and placed him under arrest for possession of marijuana. [Id.].

43.    Mr. Debrew Jr. does not possess a commercial driver’s license. [Id. at 114].

44.    When asked at the suppression hearing what information he had to link Mr. Debrew

       Jr. to the marijuana, Officer Strain testified that Mr. Debrew Jr. “was an unauthorized

       passenger on board of a commercial vehicle, and he was inside of the vehicle during

       the entire trip.” [Id. at 54].

45.    Officer Strain also testified, however, that (1) the trailer had been locked; (2) Mr.

       Debrew Sr. had the key to the locked trailer; (3) it was not possible to move from the

       tractor to the trailer without going through the locked rear; and (4) Mr. Debrew Jr.

       was removed from the tractor, not the trailer, portion of the vehicle. [Id. at 53].

46.    After the Debrews were arrested, MTD Officer Benjamin Chavez searched a duffle

       bag that was in the center of the trailer. Inside the duffle bag, Officer Chavez found

       a Smith and Wesson 9 mm handgun, a holster, and a magazine with twelve 9-mm

       bullets. [Doc. 47 at 3].




                                               9
      Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09     Page 10 of 38




       B.      Mr. Debrew Sr.’s Statement1

47.    Following the Debrews’ arrests, they were moved into the Port’s administrative

       building, where they were each questioned—separately—by New Mexico State Police

       Officers Corey Watkins and Phil Candelaria, both of whom were at that time assigned

       to the Border Operations ICE Task Force. [Doc. 105 at 65, 70].

48.    Agents Watkins and Candelaria first questioned Mr. Debrew Sr. Also present during

       the interview of Mr. Debrew Sr. was Lieutenant Greg Kerr, supervisor for the

       Lordsburg Port of Entry. [Id. at 69].



       1
        Mr. Debrew Jr., like Mr. Debrew Sr., also had originally sought to suppress the
statement he made after his arrest. In his motion, Mr. Debrew Jr. argued that his statement was
procured in violation of Miranda, since he had requested an attorney but was “blatantly
ignor[ed].” [Doc. 50 at 6].

       In response, the Government maintained that Mr. Debrew Jr.’s alleged requests for an
attorney were ambiguous and equivocal and, therefore, insufficiently clear to allow the
questioning agents to understand that he was asking for a lawyer. [See Doc. 54 at 12-13 (citing
Davis v. United States, 512 U.S. 452, 459 (1994)].

        However, referring to “the closeness of the question,” the Government agreed not to
introduce Mr. Debrew Jr.’s statement beyond the point at which he questioned the fairness of his
situation. [See Doc. 54 at 4, 15].

        At the suppression hearing, the Government clarified that, with the exception of certain
portions specifically identified during the hearing, it has agreed not to introduce Mr. Debrew Jr’s
statement during its case in chief. [See Doc. 105 at 6 (specifying portions to be introduced)].
Counsel for Mr. Debrew Jr. advised the Court that she does not object to the introduction of the
specifically identified portions of Mr. Debrew Jr.’s statement during the Government’s case in
chief. [Id. at 7]. Counsel also (1) informed the Court that Mr. Debrew Jr.’s statement is no
longer a subject of his motion to dismiss; (2) asked no questions about Mr. Debrew Jr.’s
statement during the suppression hearing; and (3) did not address Mr. Debrew Jr.’s statement in
her written closing argument on his motion to suppress. [See id. at 7 and 94; see also Doc. 119].
For these reasons, I do not address Mr. Debrew’s statement in this Memorandum Opinion and
Order.

                                                10
      Case 2:09-cr-02054-MCA        Document 131       Filed 12/31/09     Page 11 of 38



49.    Exhibit 10 is a CD recording of the agents’ interview with Mr. Debrew Sr. The

       interview also was transcribed. [See Exh. 10 and Debrew Sr. Transcription].

50.    The interview lasted for 33 minutes, during which time Mr. Debrew Sr. was not

       handcuffed. [Exh. 10; Doc. 105 at 69]. The interview occurred in what Officer

       Watkins described as “the typical standard office setting[, which included] a desk, few

       chairs, pictures on the wall, a computer on the desk . . . couple windows.” [Doc. 105

       at 69, 79].

51.    During the interview, Officer Watkins sat behind the desk. Mr. Debrew Sr. sat on the

       other side of the desk, and Officer Candelaria sat next to Mr. Debrew Sr. Lieutenant

       Kerr was leaning against a wall. According to Officer Watkins, he and Officer

       Candelaria were dressed in “typical street clothes, jeans . . . decent shirt, polo, that

       type of thing.” [Id. at 79]. Lieutenant Kerr was in uniform.

52.    Officer Watkins testified that neither he nor Agent Candelaria was armed. [Id.].

53.    Prior to asking Mr. Debrew Sr. any questions, Agent Candelaria advised him of his

       rights under Miranda v. Arizona, 384 U.S. 436, 467 (1966). Mr. Debrew Sr. told the

       agents that he understood his rights and, at 8:20 p.m., signed a Border Operations

       Task Force Advise/Waiver of Rights form waiving those rights. [See Exh. 9; Debrew

       Sr. Transcription at 6].

54.    Among other things, Mr. Debrew Sr. told the agents that he and Mr. Debrew Jr. had

       met “a Spanish guy [with] a rental truck” near a Tucson, Arizona, Triple T truck stop,

       during the late hours of November 23, 2008, or the early hours of November 24,


                                              11
      Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09    Page 12 of 38



       2008. Mr. Debrew did not know the man he met. Still, the unknown man loaded

       boxes from his U-Haul van into Mr. Debrew Sr.’s tractor trailer. Mr. Debrew Sr.

       explained that he did not ask what was in the boxes, but “figure[d]” from the light

       weight of the one box he pushed through the trailer that it did not house the television

       it purported to contain. [See Debrew Sr. Transcription at 8, 17-18, 24].

55.    Throughout their interview with Mr. Debrew Sr., Agents Watkins and Candelaria

       made such comments as, “If you can help us, we’ll do what we can to help you[;]”

       “You guys are in a bad position[;]” “I’ve seen [people] walk away from this stuff [or]

       just get[] a little bit of time[;]” “You gotta be honest[;]” “You gotta give me

       leverage[;]” “[I]f you know more, you might as well tell me the whole thing[;]” “[I]f

       you’re gonna go in front of the judge and jury and say, I knew this, I knew this, I

       knew this, I did this, this and this, but I didn’t know, man, they’re gonna—they’re

       gonna hammer you, I’m telling you right now[;]” and “I really wish you’d come clean

       with something. . . .” [Id. at 8, 13, 14, 22, 23, 26, 34, 40].

56.    Agent Candelaria also made a point of telling Mr. Debrew Sr. that he was an out-of-

       state truck driver caught with drugs in a border state whose residents “ain’t stupid,”

       and that Mr. Debrew Sr. was “going down on that.” [Id. at 32, 33].

57.    Reminding Mr. Debrew Sr., who had previously been convicted of a federal offense,

       that the federal system “works on a point system[,]” Agent Candelaria told Mr.

       Debrew Sr.,




                                               12
      Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09      Page 13 of 38



               I know that we are puttin’ you under the gun a little bit right
               now sayin’, You know, we need this right now, right now. But
               . . . the longer time goes by, the less points you re eligible to get,
               okay? Right now is where—where you get the most value out of
               that information, the most amount of points you could possibly
               get to knock that time down to whatever you can.

[Id. at 34].

58.    However, Agent Candelaria also advised Mr. Debrew Sr. that “we can’t promise you

       anything, and we’re not going to.” [Id. at 14]. Moreover, the Waiver of Rights form

       that Agent Watkins read aloud to Mr. Debrew Sr., and that Mr. Debrew Sr. both

       signed and initialed, expressly states that he is waiving his rights to remain silent and

       to consult an attorney “without any promise of reward or immunity.” [Exh. 9].

59.    From multiple reviews of Mr. Debrew Sr.’s recorded interview, I find that the

       questioning agents maintained a professional, cordial, and non-threatening tone

       throughout. At no point during the interview can the agents be heard to raise their

       voices. [See Exh. 10].

60.    I also find that Mr. Debrew Sr. comes across as calm, cooperative, and agreeable.

       I further describe his manner, as conveyed through his tone of voice, as phlegmatic.

       Mr. Debrew Sr. is deliberate and contemplative in his responses. [See id.].

61.    I find that Mr. Debrew Sr. made his statement voluntarily, and not as a result of

       coercion or duress.




                                                13
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09    Page 14 of 38



II. LEGAL ANALYSIS AND CONCLUSIONS OF LAW

       On September 16, 2009, Nathan Debrew Sr. and Nathan Debrew Jr. were charged in

a 4-count Superseding Indictment with (1) conspiracy, in violation of 21 U.S.C. § 846 (Mr.

Debrew Sr. and Mr. Debrew Jr.); (2) possession with intent to distribute 100 kilograms and

more of marijuana/aiding and abetting, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B)/18

U.S.C. § 2 (Mr. Debrew Sr. and Mr. Debrew Jr.); (3) use and carry of a firearm during and

in relation to a drug trafficking crime and possession of a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i) (Mr. Debrew Sr.); and (4) being

a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2) (Mr.

Debrew Sr.). [Doc. 55].

       On August 5, 2009, Mr. Debrew Sr. filed his Motion to Suppress, seeking to exclude

from trial any and all physical evidence seized on November 24, 2008, as well as the

statement he made after his arrest. Mr. Debrew Sr. contends that the search of the trailer

exceeded the bounds of a permissible regulatory search and also was conducted in the

absence of probable cause; accordingly, he argues, any evidence obtained as a result must

be suppressed as fruit of the poisonous tree. [Doc. 35 at 3]. Mr. Debrew also maintains that

the post-arrest statement he made similarly constitutes fruit of the poisonous tree and,

alternatively, should be suppressed as having been involuntarily made. [Id. at 3-4].

       On August 31, 2009, Mr. Debrew Jr. filed his Motion to Suppress Statement and

Physical Evidence and Memorandum in Support Thereof, also seeking to exclude all physical

evidence seized and statements made after the November 24, 2008, search and his arrest.


                                             14
     Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09      Page 15 of 38



With respect to the search, Mr. Debrew Jr. makes the same argument as that set forth by Mr.

Debrew Sr.—that Officer Strain’s search exceeded the bounds of a permissible regulatory

search and also was conducted in the absence of probable cause. [Doc. 50 at 4]. Mr. Debrew

Jr. also maintains that Officer Strain did not have probable cause to arrest him. [Id. at 3].

       As explained more fully in footnote 1 of this Memorandum Opinion and Order,

counsel for Mr. Debrew Jr. represented at the suppression hearing that those parts of Mr.

Debrew Jr.’s post-arrest statement that the Government intends to introduce in its case in

chief are neither objected to nor are they the subject of his motion to suppress. [See Doc. 105

at 6-7]. For this reason, I do not address further Mr. Debrew Jr.’s post-arrest statement.

       A.      Nathan Debrew Sr.’s Motion to Suppress [Doc. 35]

               1.     The Search as an Inspection in a Closely Regulated Industry2


       2
          Although not expressly raised by any party during the suppression hearing, in his
written closing argument, Mr. Debrew Sr. addressed the issue of standing, explaining that,
during the hearing, the government “did enter evidence of the ownership of the tractor-trailer in
question.” [Doc. 115 at 12].

       To establish standing to challenge a vehicle, a non-owner/driver bears the burden of
showing that he had a legitimate possessory interest in, or lawful control over, the vehicle.
United States v. Valdez Hocker, 333 F.3d 1206, 1209 (10th Cir. 2003). Indeed, “[d]rivers who
credibly testify they had permission to drive from the registered owner, ‘plainly have a
reasonable expectation of privacy in the vehicle and standing to challenge the search of the
vehicle.’” United States v. Carel, 133 Fed.Appx. 497 n.1 (10th Cir. 2005) (unpublished opinion)
(quoting Valdez Hocker, 333 F.3d at 1208-09).

        In this case, Mr. Debrew Sr. credibly testified that the trailer was owned by Mr. Harold
Cook, and that he (Mr. Debrew Sr.) was making payments through a purchase agreement to buy
the tractor. [Doc. 105 at 111-112]. Mr. Debrew Sr. also explained that he and Mr. Cook had an
arrangement whereby they shared in the profits made from Mr. Debrew Sr.’s total line haul. [Id.
at 111]. When asked whether he was an employee of Cook’s Moving Service, Mr. Debrew Sr.
responded, “Yes. I’m leased to Cook’s.” [Id. at 110].


                                                15
     Case 2:09-cr-02054-MCA          Document 131       Filed 12/31/09      Page 16 of 38



       As previously explained, the tractor trailer at issue was searched after the Debrews’

arrival at the Lordsburg port of entry. New Mexico law requires all commercial carriers

entering or leaving New Mexico to stop at all ports of entry, and personnel assigned to the

ports of entry are authorized to inspect commercial vehicles and their documentation to

determine whether the vehicles, drivers, and cargo are in compliance with state laws

regarding public safety, health, and welfare. United States v. Vasquez-Castillo, 258 F.3d

1207, 1209 (10th Cir. 2001) (citing N.M. STAT. ANN. § 65-5-1).

       “[C]ommercial trucking is an industry closely regulated by both federal and state

governments.” Vasquez-Castillo, 258 F.3d at 1209. For this reason, the warrantless search

of a tractor trailer is analyzed under the framework set forth in New York v. Burger, 482 U.S.

691, 702-703 (1987).

       Burger established the following three-part test for determining whether a warrantless

inspection of a closely regulated industry violates the Fourth Amendment:

              First, there must be a substantial government interest that
              informs the regulatory scheme pursuant to which the inspection
              is made. Second, the warrantless inspections must be necessary
              to further the regulatory scheme. . . . Finally, the statute’s
              inspection program, in terms of the certainty and regularity of its
              application, must provide a constitutionally adequate substitute
              for a warrant.




        I find that Mr. Debrew Sr. clearly had permission from the vehicle’s owner, Harold
Cook, to be driving the tractor trailer, and was in lawful control of it on November 24, 2008.
Accordingly, I find that Mr. Debrew Sr. had a reasonable expectation of privacy in the vehicle
and, therefore, has standing to challenge the search. See Valdez Hocker, 333 F.3d at 1209.

                                               16
     Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09     Page 17 of 38



Vasquez-Castillo, 258 F.3d at 1210 (quoting Burger, 482 U.S. at 702-703). Both the Tenth

Circuit and this Court have previously upheld New Mexico’s regulatory scheme for

conducting warrantless inspections of the commercial trucking industry at its ports of entry

pursuant to the Burger test. See United States v. Mitchell, 518 F.3d 740 (10th Cir. 2008);

Vasquez-Castillo, 258 F.3d 1207; United States v. Gwathney, 465 F.3d 1133 (10th Cir.

2006); United States v. Michael, No. CR 06-1833 MCA, Doc. 72 (D.N.M. June 22, 2007)

(unpublished memorandum opinion and order).

       Mr. Debrew Sr. argues that “in this case . . . the warrantless search failed to provide

a constitutionally adequate substitution for a warrant, as required in Burger,” and also that

“Officer Strain did not follow the standard procedure for a Level 2 safety inspection prior to

cutting open the U-Haul boxes, resulting in the search herein far exceeding the purpose and

intent of New Mexico’s regulatory scheme. . . .” [Doc. 35 at 3].

       With respect to Mr. Debrew Sr.’s argument that the search failed to provide a

constitutionally adequate substitution for a warrant, it should be noted that it is not the search

itself but, rather, the regulatory scheme that must satisfy Burger. To be sure, the Tenth

Circuit has explained that “‘the Burger criteria are applied generally to a statutory scheme,

not to a given set of facts arising under that scheme.’” Gwathney, 465 F.3d at 1140 (quoting

United States v. Maldonado, 356 F.3d 130, 136 (1st Cir.2004)). Accordingly, I reject Mr.

Debrew Sr.’s first argument.

       As to whether Officer Strain followed the standard procedure for a Level II

commercial-vehicle inspection, I note that neither the government nor Mr. Debrew Sr.


                                               17
     Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09     Page 18 of 38



presented evidence as to what, precisely a Level II inspection entails. However, I have taken

judicial notice of the description of a Level II commercial-vehicle inspection as set forth in

the Memorandum Opinion and Order docketed as entry number 61 in United States v. Ameth

Choundoull, 09cr488 MCA (Sept. 22, 2009). A Level II inspection is described by the

Federal Motor Carrier Safety Administration as

              [a]n examination that includes each of the items specified under
              the North American Standard Inspection. At a minimum, Level
              II inspections must include examination of: driver’s license,
              medical examinees certificate and waiver, if applicable, alcohol
              and drugs, driver’s record of duty status as required, hours of
              service, seat belt, vehicle inspection report, brake system,
              coupling devices, exhaust system, frame, fuel system, turn
              signals, brake lamps, tail lamps, head lamps, lamps on
              projecting loads, safe loading, steering mechanism, suspension,
              tires, van and open-top trailer bodies, wheels and rims,
              windshield wipers, emergency exits on buses, and HM
              requirements, as applicable. It is contemplated that the
              walk-around driver/vehicle inspection will include only those
              items which can be inspected without physically getting under
              the vehicle.

[See United States v. Ameth Choundoull, 09cr488 MCA, Doc. 61 at 6-7; ¶ 21 (Sept. 22,

2009)].

       In this case, Officer Strain explained that, in the course of his Level II inspection, he

examined Mr. Debrew Sr.’s credentials, which included the tractor trailer registration, bill

of lading, log book, commercial driver’s license, and medical card. [Doc. 105 at 15]. Officer

Strain credibly testified that Mr. Debrew Sr.’s log book “raise[d] a . . . red flag in [his]

mind[,]” id. at 17, and that his handwritten and “scribbled” bill of lading caused him to

become “[a]bsolutely” suspicious, id. at 18, 19. After he reviewed Mr. Debrew Sr.’s


                                              18
     Case 2:09-cr-02054-MCA           Document 131         Filed 12/31/09   Page 19 of 38



credentials, Officer Strain began the physical inspection of the tractor trailer, which he

described as walking around the vehicle “checking the lights, checking the tires, and so

forth.” [Id. at 19]. Noting no violations, Officer Strain then asked Mr. Debrew Sr. to open

the trailer.

        The Tenth Circuit has held that “‘New Mexico’s regulatory scheme clearly

contemplates entrance into the trailer to inspect blocking and bracing, and also allows

inspection of the contents of the vehicle.’” Mitchell, 518 F.3d at 752 (quoting Gwathney, 465

F.3d at 1139). Accordingly, there can be no real question that Officer Strain was authorized

to enter the trailer, at least for the purpose of checking blocking and bracing, and Mr. Debrew

Sr. does not appear to argue to the contrary. Instead, Mr. Debrew Sr.’s argument is that § 65-

1-1 does not authorize port of entry inspectors to open and search individual items or

containers that make up the cargo once they have verified that the cargo was safely loaded.

[See Doc. 115 at 5-6 (“There is no issue that the spare tires and boxes were safely loaded.

Strain had verified that the cargo was safely loaded before he cut open the boxes.)]. Mr.

Debrew Sr. points out that “[t]he word ‘contents’ in the statute is not defined” and submits

that the issue of an inspector’s “authority under the statute to open individual containers in

the trailer . . . has not been decided in this district.” [Id. at 5].

        On the one hand, it is true that in Vasquez-Castillo, the Tenth Circuit determined that

because the inspecting officer in that case “permissibly entered the trailer to inspect the

blocking and bracing, [the Circuit was not required to] consider whether he also could have

entered the trailer to inspect the cargo.” Vasquez-Castillo, 258 F.3d at 1212 n.3. Similarly,


                                                 19
     Case 2:09-cr-02054-MCA             Document 131       Filed 12/31/09    Page 20 of 38



in Gwathney, the Circuit did not need to “decide if New Mexico’s regulatory scheme

authorized the actual opening of boxes, because [it] agree[d] with the district court that on

the facts” before it, the inspecting officer possessed probable cause to cut into and search the

containers in question. Gwathney, 465 F.3d at 1140.

       On the other hand, even though § 65-1-1 does not define “contents,” subsection (D)

provides, in pertinent part, that “[t]he person in charge of the port of entry may confirm the

contents of the cargo. . . .” N.M. STAT. ANN. § 65-5-1(D).3 It is well established that

“[w]hen interpreting a statute, [courts] must give words their ‘ordinary or natural’ meaning.”

Leocal v. Ashcroft, 543 U.S. 1, 9 (2004) (quoting Smith v. United States, 508 U.S. 223, 228

(1993)).

       Merriam-Webster’s Collegiate Dictionary defines “content” as “something

contained.” MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY 250 (10th ed. 1993). It defines

“cargo” as “the goods or merchandise conveyed in a ship, airplane, or vehicle.” Id. at 173.

Given these definitions, and the court’s task of interpreting words according to their plain

meaning, it could be argued that “contents of the cargo,” as used in § 65-5-1(D), refers to the

actual items contained within individual containers. Fortunately, however, this Court need


       3
           In its entirety, subsection (D) provides that

                The person in charge of the port of entry may confirm the contents
                of the cargo and the weight thereof and is authorized to interview
                operators to obtain information in respect thereto and, if in doubt
                as to the declared gross weight, may order the cargo weighed
                before issuing any clearance certificate for the motor vehicle.

N.M. STAT. ANN. § 65-5-1(D).

                                                  20
     Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09     Page 21 of 38



not conclusively determine whether New Mexico’s regulatory scheme authorized Officer

Strain to cut into and search individual boxes inside Mr. Debrew Sr.’s trailer because the

Court determines that Officer Strain had probable cause to do so.

              2.      Probable Cause to Search the Trailer

       “‘Probable cause to search a vehicle is established if, under the totality of the

circumstances, there is a fair probability that the [vehicle] contains contraband or evidence.’”

Vasquez-Castillo, 258 F.3d at 1212 (quoting United States v. Downs, 151 F.3d 1301, 1303

(10th Cir.1998)). In other words, probable cause exists where “the detaining officer has a

‘particularized and objective basis’ for suspecting legal wrongdoing.” United States v.

Ledesma, 447 F.3d 1307, 1316 (10th Cir. 2006) (quoting United States v. Arvizu, 534 U.S.

266, 273 (2002)). A law enforcement officer’s subjective belief as to the existence of

probable cause is not determinative. United States v. Treto-Haro, 287 F.3d 1000, 1006 (10th

Cir. 2002). For that reason, the fact that a law enforcement officer may not have subjectively

believed that probable cause existed “does not preclude the Government from justifying the

suspect’s [arrest] by establishing probable cause.” United States v. Santana-Garcia, 264 F.3d

1188, 1192 (10th Cir. 2001).

       The “totality of the circumstances” analysis focuses on whether the facts observed by

law enforcement officers, when taken as a whole, rather than in isolation, indicate a fair

probability of illegal conduct. See Ledesma, 447 F.3d at 1316. Thus, while the Court

examines each factor supporting—as well as mitigating against—probable cause, no single

factor is determinative. Indeed, “[e]ven where a particular factor, considered in isolation, is


                                              21
     Case 2:09-cr-02054-MCA           Document 131        Filed 12/31/09      Page 22 of 38



of limited significance and must be discounted, it nonetheless may affect the Fourth

Amendment analysis when combined with other indicia of probable cause or reasonable

suspicion.” Id. (internal quotations and alterations omitted). Consequently, rather than

examine how each factor might add up to reasonable suspicion individually, it is the task of

the Court to “evaluate how convincingly they fit together into a cohesive, convincing picture

of illegal conduct.” United States v. Guerrero, 472 F.3d 784, 787 (10th Cir. 2007).

       It is important to remember that the determination as to the existence of probable

cause “is made from the perspective of the reasonable officer, not the reasonable person.”

United States v. Quintana-Garcia, 343 F.3d 1266, 1270 (10th Cir. 2003) (emphasis in

original). Additionally, in assessing probable cause, courts “defer to trained law enforcement

personnel, allowing officers to draw on their own experience and specialized training to

make inferences from and deductions about the cumulative information available to them that

might well elude an untrained person.” Guerrero, 472 F.3d at 787 (internal quotations and

alterations omitted). Finally, “‘[i]t is well established that although probable cause to search

a [vehicle] may not exist when [it] is first stopped for a traffic citation, it can arise during the

course of the stop.’” Vasquez-Castillo, 258 F.3d at 1213 (quoting United States v. West, 219

F.3d 1171, 1178 (10th Cir. 2000)).

       In this case, Officer Strain testified as to the following factors supporting probable

cause to believe that criminal activity was afoot: (1) Mr. Debrew Sr.’s questionable

explanation as to his travel to and from El Paso; (2) a bill of lading that Inspector Strain

believed to be fraudulent; (3) the fact that Inspector Strain did not believe that the small load


                                                22
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 23 of 38



Mr. Debrew Sr. was hauling would pay for a cross-country trip; (4) Mr. Debrew Sr.’s

apparent nervousness; (5) Mr. Debrew Sr.’s unusual behavior in attempting to climb into the

trailer; and (6) cargo that Inspector Strain believed was being intentionally hidden beneath

blankets.

       At the suppression hearing, counsel for Mr. Debrew Sr. attempted to break these

factors down and explain each as innocent behavior. For example, when cross-examined

as to why Mr. Debrew’s log book might have inaccurately indicated that he was in El Paso

when he clearly was not, Officer Strain explained the 11-hour rule, whereby truck drivers

will sometimes falsify their log books to show arrival at a destination they have not actually

reached in order to drive more hours. When questioned as to his suspicion that Mr. Debrew

Sr.’s load seemed too small to pay the expenses of cross-country travel, Officer Strain

admitted that sometimes truck drivers will haul small loads in order to cover at least some

of their costs. Officer Strain also agreed with counsel for Mr. Debrew Sr. that shaking hands

can be a sign of something other than nervousness.

       The problem with considering each factor separately, in isolation and apart from the

manner in which they fit together given the entirety of the situation, is that such an approach

advances the “divide and conquer” method that has been rejected by the United States

Supreme Court. See Arvizu, 534 U.S. at 267; see also United States v. Valenzuela, 365 F.3d

892, 897 (10th Cir. 2004) (“[C]ourts may not engage in a ‘divide-and-conquer’ analysis of

facts to determine whether probable cause existed.”). Thus, while it is conceivable that each

factor cited by Officer Strain, if separated from the others and considered in its own vacuum,


                                              23
     Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09     Page 24 of 38



might be susceptible of an innocent explanation, the real question is whether a reasonable

law enforcement officer, drawing on his experience and training, could objectively have

believed that, in light of the entire situation, legal wrongdoing was afoot.

       In this case, given the totality of the circumstances, Officer Strain possessed the

necessary “particularized and objective basis” for suspecting that illegal conduct was

occurring. See Ledesma, 447 F.3d at 1316. Officer Strain credibly testified that Mr. Debrew

Sr.’s log book entry for November 24, 2008 “raise[d] . . . a red flag in [his] mind[,]” and that

the handwritten, incomplete, and illegible bill of lading indicating a relatively small military

load caused him to become “absolutely” suspicious. [Doc. 105 at 17, 19]. While he admitted

that shaking hands can be caused by, for example, a medical condition, Officer Strain

nevertheless interpreted Mr. Debrew Sr.’s shaking hands as a sign of nervousness,

particularly where Mr. Debrew Sr. had just handed over what Officer Strain believed to be

falsified vehicle documentation.

       The Tenth Circuit has previously determined that nervousness and questionable bills

of lading contribute to the creation of probable cause. See United States v. Mendivil, 2006

WL 3598301 at *3 (10th Cir. Dec. 12, 2006) (unpublished opinion) (motion to suppress was

“without merit” where, among other things, bill of lading appeared suspicious and Border

Patrol agent observed truck driver “exhibiting nervous behavior.”).        An unusually small

amount of cargo in a tractor trailer may also contribute to a finding of probable cause.

Vasquez-Castillo, 258 F.3d at 1213 (citing United States v. Dominguez-Prieto, 23 F.2d 464,

470 (6th Cir. 1991).


                                              24
     Case 2:09-cr-02054-MCA          Document 131       Filed 12/31/09      Page 25 of 38



       Officer Strain’s suspicions only increased once he entered the trailer, which he was

unquestionably authorized to do. See Mitchell, 518 F.3d at 752 (“New Mexico’s regulatory

scheme clearly contemplates entrance into the trailer to inspect blocking and bracing. . . .”).

According to Officer Strain, Mr. Debrew Sr. attempted to climb into the trailer with him,

which Officer Strain found unusual, uncommon, and atypical. [See Doc. 105 at 23]. As

Officer Strain explained, “while [he is] inside the trailer [he is] gonna be turning [his] back

on the driver and—and [the driver] already knows what’s inside the trailer, he knows that

[Officer Strain is] going in there to inspect that, and he doesn’t have any reason to be in

there.” [Id. at 23-24].

       Mr. Debrew Sr. also made a point of calling Officer Strain’s attention to the spare tires

in the trailer, which Officer Strain found unusual because, while all trailers carry spare tires,

Officer Strain has “never had a driver say, ‘Hey I’ve got spare tires towards the back. . . .”

[Doc. 105 at 23]. Officer Strain credibly testified that he viewed Mr. Debrew Sr.’s

announcement as an attempt to draw his attention to the back of the trailer, id., whereas the

boxes that Mr. Debrew Sr. was hauling were secured at the front of the trailer, see Exh. 4.

       Finally, Officer Strain explained that he found it unusual that the boxes in Mr. Debrew

Sr.’s trailer were covered with blankets, since, in his experience, “blankets are used to cover

up furniture, cabinets, chest[s] of drawers, anything that—that would possibly be scratched

or dented or just dinged up.” [Id. at 25]. To be sure, when asked during the suppression

hearing if he had ever known blankets to be used to separate loads being transported during

a multi-load haul, Officer Strain responded, “Not blankets, no.” [Id. at 52].


                                               25
     Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09     Page 26 of 38



       Given the totality of the circumstances, even if it could fairly be said (which it cannot)

that, prior to entering the trailer, Officer Strain lacked probable cause to believe that criminal

activity was afoot, such cause clearly arose once he entered the trailer, as he was authorized

to do. See Vasquez-Castillo, 258 F.3d at 1213 (“[i]t is well established that although

probable cause to search a [vehicle] may not exist when [it] is first stopped for a traffic

citation, it can arise during the course of the stop.”). Accordingly, Officer Strain’s search

was valid. Because “[a] valid search cannot bear ‘fruit of the poisonous tree[,]’” United

States v. Pham, 17 Fed.Appx. 778, 784 (10th Cir. 2001) (unpublished opinion), Mr. Debrew

Sr.’s argument that that doctrine supports the suppression of the firearm that Officer Chavez

found in the duffle bag, as well as Mr. Debrew, Sr.’s post-arrest statements, fails.

               3.     Whether Mr. Debrew Sr.’s Post-Arrest Statement was Voluntary

       In addition to arguing that his post-arrest statement should be suppressed as fruit of

the poisonous tree, Mr. Debrew Sr. also contends that his statement should be suppressed

because it was not voluntarily made. Instead, he maintains that (1) his statement was

“induced or coerced in the sense that the [questioning] officers implied favorable treatment

to reduce [Mr. Debrew Sr.’s] jail sentence if [he] would admit guilt; and (2) the officers

“impliedly threatened [him] on more than one occasion throughout the interrogation. . . .”

[Doc. 35 at 3-4]. I am not persuaded by Mr. Debrew Sr.’s argument.

       “An inculpatory statement, to be admissible, must be made voluntarily and of the

defendant’s free will.” United States v. Minard, 2006 WL 3598396, at *2 (10th Cir. Dec. 12,

2006) (citing Colorado v. Connelly, 479 U.S. 157, 167 (1986)). The Tenth Circuit has held


                                               26
     Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09    Page 27 of 38



that “[a] statement is involuntary in violation of due process if ‘a defendant’s will was

overborne by the circumstances surrounding’ his confession.” United States v. Lamy, 521

F.3d 1257, 1261 (10th Cir. 2008) (quoting Dickerson v. United States, 530 U.S. 428, 434

(2000). Coercive police activity is a necessary predicate to a constitutionally involuntary

confession, with the Court’s inquiry being whether questioning officers took unfair

advantage of the defendant’s traits or the surrounding circumstances. Lamy, 521 F.3d at

1261. Factors relevant to this determination include:

              (1) the age, intelligence, and education of the defendant; (2) the
              length of detention; (3) the length and nature of the questioning;
              (4) whether the defendant was advised of his constitutional
              rights; and (5) whether the defendant was subjected to physical
              punishment.

Id. at 1262 (citing United States v. Toles, 297 F.3d 959, 966 (10th Cir.2002)). No single

factor is determinative; instead, it is another “totality of the circumstances” consideration.

       In the Tenth Circuit, “a promise of leniency is relevant to determining whether a

confession was involuntary and, depending on the totality of the circumstances, may render

a confession coerced.” Clanton v. Cooper, 129 F.3d 1147, 1159 (10th Cir. 1997). In United

States v. Garot, the Tenth Circuit “flesh[ed] out” the standards relevant to a determination

of whether a statement has been obtained by any direct or implied promises, however slight.

United States v. Garot, 801 F.2d 1241, 1244 (10th Cir. 1986). The Court asks:

              First, was an express or implied promise of lenience made to
              [defendant]? Secondly, if no promise of lenience was made, did
              [defendant] reasonably believe that such a promise had been
              made? Thirdly, if a promise was made or if [defendant]
              reasonably believed that a promise had been made, was his


                                             27
     Case 2:09-cr-02054-MCA          Document 131        Filed 12/31/09     Page 28 of 38



               statement induced by that promise in a ‘but for’ sense? Fourthly,
               if a promise was made or if [defendant] reasonably believed that
               a promise had been made, and this promise or belief induced his
               statement in a ‘but for’ sense, was the inducing promise
               coercive?

Id. at 1244-45.

       In Garot, the Tenth Circuit answered all four questions in the negative, having

concluded that nothing in the questioning officer’s statement—that the defendant could be

in “big trouble” but if she were to tell the truth, the officer would relay the information to the

prosecutor—could be construed as a promise of leniency. Id. at 1245.

       So too in this case. Here, there was no express promise of leniency, nor does Mr.

Debrew Sr. suggest that there was. Rather, he contends that Officers Watkins and Candelaria

“implied favorable treatment” by telling him that they had seen people who cooperate “walk

away from this stuff” or do a “little bit of time.”

       It is true that, throughout their interview with Mr. Debrew Sr., Agents Watkins and

Candelaria made such comments as, “If you can help us, we’ll do what we can to help

you[;]” “You guys are in a bad position[;]” “You gotta be honest[;]” “You gotta give me

leverage[;]” “[I]f you know more, you might as well tell me the whole thing[;]” “[I]f you’re

gonna go in front of the judge and jury and say, I knew this, I knew this, I knew this, I did

this, this and this, but I didn’t know, man, they’re gonna—they’re gonna hammer you, I’m

telling you right now[;]” “Right now is where—where you get the most value out of that

information, the most amount of [federal] points you could possibly get to knock that time

down to whatever you can[;]” and “I really wish you’d come clean with something. . . .”


                                               28
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09    Page 29 of 38



[Debrew Sr. Transcription at 8, 13, 22, 23, 26, 34, 40].

       In this case, I conclude that statements through which the agents (1) assessed Mr.

Debrew Sr.’s situation; (2) urged him to be truthful; (3) predicted the possible reaction from

judge and jury; and (4) vaguely mentioned the federal points system with Mr. Debrew,

constitute mere opinions of the questioning agents and not express or implied promises of

leniency or anything else.

       As for the second factor, courts give weight to the fact that officers caution a

defendant that they are making no promises. See United States v. Jacks, 634 F.2d 390, 394

(8th Cir. 1980) (statement was voluntarily made where, among other things, questioning

agents “expressly cautioned” defendant that they were making no promises of leniency). In

this case, before questioning began, Agent Candelaria advised Mr. Debrew Sr. that “we can’t

promise you anything, and we’re not going to.” [Debrew Sr. Transcription at 14].

Additionally, the Waiver of Rights form that Agent Watkins read aloud to Mr. Debrew Sr.,

and that Mr. Debrew Sr. both signed and initialed, expressly states that he is waiving his

rights to remain silent and to consult an attorney “without any promise of reward or

immunity.” [Exh. 9].

       In light of the foregoing, I conclude that no express or implied promise of lenience

was made to Mr. Debrew Sr., nor would he have been reasonable in believing that such a

promise had been made. See Garot, 801 F.2d at 1244-45. Accordingly, I need not reach the

third and fourth Garot factors.

       Returning now to the Lamy factors that are relevant to a determination whether a


                                             29
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 30 of 38



defendant’s statement was involuntary, I note that, at the time he was interviewed on

November 24, 2008, Mr. Debrew Sr. was 64 years old. He also had at least some familiarity

with the criminal justice system, having previously been convicted and incarcerated for what

he described to Agents Watkins and Candelaria as “conspiracy of drug trafficking.” [Debrew

Sr. Transcription at 7]. A defendant’s familiarity with the criminal justice system weighs in

favor of finding that he has voluntarily, knowingly, and intelligently waived his right to

remain silent. See United States v. Tucker, 110 F.3d 74 (10th Cir. 1997) (unpublished

opinion).

       The interview of Mr. Debrew Sr. lasted for 33 minutes, during which time Mr.

Debrew Sr. was not handcuffed. The interview occurred in what Officer Watkins described

as “the typical standard office setting” with Officer Watkins behind a desk, Mr. Debrew Sr.

on the other side of the desk, and Officer Candelaria next to Mr. Debrew Sr. Lieutenant Kerr

also was present, leaning against a wall. Officer Watkins testified that while Lieutenant Kerr

was in uniform, Officer Watkins and Officer Candelaria were dressed in “typical street

clothes, jeans . . . decent shirt, polo, that type of thing.” [Doc. 105 at 79]. Neither Officer

Watkins nor Agent Candelaria was armed during the interview. [Id.].

       Again, before the questioning began, Mr. Debrew Sr. was advised of his rights under

Miranda. [Debrew Sr. Transcription at 4-6]. Having been read his rights, Mr. Debrew Sr.

told Agent Watkins that he both understood his rights and had “no trouble” with what was

read to him. [Id. at 6]. Mr. Debrew Sr. also signed and initialed a Border Operations Task

Force Advise/Waiver of Rights form waiving his rights.            [See Exh. 9; Debrew Sr.


                                              30
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 31 of 38



Transcription at 6]. “A defendant’s act of signing a waiver form prior to confession, though

not conclusive, is ‘usually strong proof’ of the voluntariness of the waiver.” United States

v. Fountain, 776 F.2d 878, 886 (10th Cir. 1985).

       Finally, there is no evidence—nor has there been any allegation—that Mr. Debrew

Sr. was subjected to physical punishment during the interview. From having reviewed Mr.

Debrew Sr.’s recorded interview a number of times, I find that Agents Watkins and

Candelaria maintained a professional, cordial, and non-threatening tone throughout. At no

point during the interview can the agents be heard to raise their voices. [See Exh. 10]. I also

find that Mr. Debrew Sr. comes across as calm, cooperative, and agreeable. He is deliberate

and contemplative in his responses and, at various points during the interview, Mr. Debrew

Sr. can even be heard laughing or chuckling. [See id.]. In light of all of the circumstances,

I conclude that Mr. Debrew Sr. made a voluntary post-arrest statement to Agents Watkins

and Candelaria. Mr. Debrew Sr.’s statement will not be suppressed, and his motion will be

denied. I now turn to Mr. Debrew Jr.’s motion to suppress.

       B.     Nathan Debrew Jr.’s Motion to Suppress Statement and Physical
              Evidence and Memorandum in Support Thereof [Doc. 50]

              1.     Probable Cause to Arrest Mr. Debrew Jr.

       Mr. Debrew Jr.’s first argument in support of his motion to suppress all physical

evidence seized as a result of the events of November 24, 2008 is that Officer Strain lacked

probable cause to arrest him. Mr. Debrew Jr. maintains that, while Officer Strain arrested

him immediately after finding and cutting into the first package of marijuana, “Officer Strain



                                              31
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 32 of 38



had absolutely no facts to link” him to the drugs. [Doc. 50 at 3].

       “‘[M]ere propinquity to others independently suspected of criminal activity does not,

without more, give rise to probable cause.’” Poolaw v. Marcantel, 565 F.3d 721, 729 (10th

Cir. 2009) (quoting Ybarra v. Illinois, 444 U.S. 85, 91 (1979)). In Poolaw, the Tenth Circuit,

based on a review of several district-court cases, “discern[ed] a clear rule: A familial

relationship to someone suspected of criminal activity, without more, does not constitute

probable cause to search or arrest.” Poolaw, 565 F.3d at 730.

       The “mere propinquity” concept was considered in Ybarra, where police officers

obtained a warrant to search a tavern and its bartender for evidence of possession of a

controlled substance. Upon entering the tavern, the officers conducted patdown searches of

the customers present in the tavern, including Ybarra. Inside a cigarette pack retrieved from

Ybarra’s pocket, an officer found six tinfoil packets containing heroin. The Supreme Court

explained that

              a person’s mere propinquity to others independently suspected
              of criminal activity does not, without more, give rise to probable
              cause to search that person. Where the standard is probable
              cause, a search or seizure of a person must be supported by
              probable cause particularized with respect to that person. This
              requirement cannot be undercut or avoided by simply pointing
              to the fact that coincidentally there exists probable cause to
              search or seize another or to search the premises where the
              person may happen to be.

Ybarra, 444 U.S. at 91.

       Notwithstanding the “mere propinquity” rule of Ybarra, where the arrestee is a

passenger in a vehicle, arresting officers may develop probable cause of a joint illegal


                                             32
     Case 2:09-cr-02054-MCA         Document 131        Filed 12/31/09     Page 33 of 38



enterprise absent particularized suspicion. United States v. Dennison, 410 F.3d 1203, 1211

(10th Cir. 2005) (citing Maryland v. Pringle, 540 U.S. 366 (2003)).

       In Pringle, an officer stopped a car for speeding at 3:16 a.m.; three occupants were in

the vehicle. When the driver opened the glove compartment to retrieve a vehicle registration,

the officer saw a large amount of rolled-up money. The driver consented to a search of the

car, and officers found $763 in the glove compartment and several bags containing cocaine

elsewhere. Pringle, 540 U.S. at 368. The three occupants offered no information about

ownership of the drugs and money, and the officer arrested all three. The Supreme Court

considered it “an entirely reasonable inference” that any or all occupants knew of or had

control of the cocaine. Id. at 372. The Supreme Court went on to distinguish Ybarra because

the three Pringle occupants “were in a relatively small automobile, not a public tavern.” Id.

at 373. Furthermore, “it was reasonable for the officer to infer a common enterprise among

the three men,” as the quantity of drugs and money suggested a likelihood of drug dealing.

Id. Moreover, “drug dealing [is] an enterprise to which a dealer would be unlikely to admit

an innocent person with the potential to furnish evidence against him.” Id. at 373.

       I find that Pringle is distinguishable from the facts of the instant case. In Pringle, the

rolled-up cash was found in the glove compartment, which was obviously in close proximity

to Pringle, the front-seat passenger. The glove compartment also was where the driver had

stored his license and registration. The drugs were found in the back-seat armrest; one of the

defendants was seated in the back seat. Given those facts, clearly it was reasonable for the

arresting officer to believe that the three defendants were engaged in a common enterprise.


                                               33
     Case 2:09-cr-02054-MCA         Document 131       Filed 12/31/09     Page 34 of 38



       By contrast, in this case, the marijuana was found in the trailer portion of the tractor

trailer, while Mr. Debrew Jr. occupied the tractor. The trailer was locked, and it was Mr.

Debrew Sr., not Mr. Debrew Jr., who held the key. It was not possible to access the trailer

from the tractor without passing through the locked rear. It similarly was Mr. Debrew Sr.,

not Mr. Debrew Jr., who exhibited what Officer Strain interpreted as nervous behavior, and

it was Mr. Debrew Sr., not Mr. Debrew Jr., who presented credentials that Officer Strain

found questionable. Mr. Debrew Jr. does not possess a commercial driver’s license, and was

not serving as Mr. Debrew Sr.’s co-driver. Finally, until he asked Mr. Debrew Sr. if anyone

else was in the tractor, Officer Strain apparently did not even realize that Mr. Debrew Jr. was

present. Cf. Pringle, 540 U.S. at 371-372 (where (1) defendant was one of three men riding

in car at 3:16 a.m; (2) there was $763 of rolled-up cash in the glove compartment directly in

front of defendant (3) five plastic baggies of cocaine were behind the back-seat armrest and

accessible to all three men; and (4) upon questioning, all three men failed to offer any

information with respect to the ownership of the cocaine or the money.).

       A more on-point (but still distinguishable case) would be United States v. Baker, 2008

WL 2410850 (S.D.Ill., June 11, 2008). In Baker, the defendant was arrested after cocaine

was recovered from a semi-tractor trailer in which defendant was the co-driver. Defendant

did not contest the lawfulness of the search of the truck; instead, in his motion to suppress,

he contended that his arrest was without probable cause because arresting officers did not

know who owned the trailer, and did not know the relationship between the two drivers.

Baker, 2008 WL 2410850, at *2.


                                              34
     Case 2:09-cr-02054-MCA          Document 131       Filed 12/31/09      Page 35 of 38



       The trial court denied the motion, expressly finding that probable cause existed to

arrest defendant where he (1) was in the cab of the trailer in which the drugs were located at

the time officers started questioning his co-defendant; (2) had been identified by the co-

defendant as a “co-driver” of that tractor-trailer; and (3) was easily able to locate the correct

key to open the trailer padlock. The court explained that “[a]ll of these things [were]

particularized to [defendant], and gave the officers probable cause to believe that he was

engaged in illegal narcotics trafficking.” Baker, 2008 WL 2410850, at *3.

       I do not believe that such particularized suspicion exists here, where Mr. Debrew Jr.

was not a co-driver of the tractor trailer, and did not even possess a commercial driver’s

license.   To be sure, Officer Strain described Mr. Debrew Jr. as “an unauthorized

passenger. . . .” [Doc.105 at 54]. Although Mr. Debrew Jr. was in the cab of the tractor when

the marijuana was found, the marijuana was in the trailer; the trailer was locked; and it was

Mr. Debrew Sr. who held the key. It would not have been possible for Mr. Debrew Jr. to

access the trailer without unlocking and entering through the rear door. Mr. Debrew Jr. was

not a co-driver and his presence was not even noticed by Officer Strain until Officer Strain

asked Mr. Debrew Sr. if anyone else was in the tractor. I conclude that Officer Strain lacked

particularized suspicion and, therefore, probable cause to arrest Mr. Debrew Jr.

Nevertheless, Mr. Debrew Jr. is not entitled to the relief he seeks because the marijuana

would inevitably have been discovered even absent the unlawful arrest.

       In order to suppress the marijuana as the fruit of his unlawful detention, Mr. Debrew

Jr. must demonstrate “‘a factual nexus between the illegality and the challenged evidence.’”


                                               35
     Case 2:09-cr-02054-MCA          Document 131      Filed 12/31/09     Page 36 of 38



United States v. Nava-Ramirez, 210 F.3d 1128, 1131 (10th Cir. 2000) (quoting United States

v. Kandik, 633 F.2d 1334, 1335 (9th Cir.1980)). In other words, he must show that the

marijuana would not have come to light but for the government’s unconstitutional conduct.

See United States v. Albert, 579 F.3d 1188, 1197 (10th Cir. 2009). Were Mr. Debrew Jr. to

make this showing, the burden would then shift to the government to “prove that the

evidence sought to be suppressed is not ‘fruit of the poisonous tree,’ either by demonstrating

the evidence would have been inevitably discovered, was discovered through independent

means, or was so attenuated from the illegality as to dissipate the taint of the unlawful

conduct.” Id.

         In this case, even absent the unlawful arrest, Officer Strain would have discovered

the marijuana during his cause-based search of Mr. Debrew Sr.’s trailer. As explained more

fully above, at the time Officer Strain cut into the box and discovered the marijuana, ample

probable cause particularized to Mr. Debrew Sr. supported Officer Strain’s actions. There

is no evidence that but for the illegal arrest of Mr. Debrew Jr., Officer Strain would not have

found the marijuana. To be sure, the marijuana was discovered not because Mr. Debrew Jr.

was unlawfully arrested but, instead, because, given the totality of the circumstances, Officer

Strain developed a particularized and objective basis for suspecting that criminal activity was

afoot. Because the marijuana was not discovered as a result of Mr. Debrew Jr.’s unlawful

arrest, it will not be suppressed.




                                              36
     Case 2:09-cr-02054-MCA           Document 131        Filed 12/31/09     Page 37 of 38



               2.     Whether Cutting Open the Box Worked a Violation
                      of Mr. Debrew Jr.’s Fourth Amendment Rights

       Mr. Debrew Jr. next argues that Officer Strain’s opening of the box in which the

initial bundle of marijuana was found was a violation of Mr. Debrew Jr.’s Fourth

Amendment right because Officer Strain lacked probable cause to search. This argument

fails for the same reason it failed with respect to Mr. Debrew Sr.—probable cause existed to

support Officer Strain’s search.4

III. CONCLUSION

       For the foregoing reasons, Defendant Nathan Debrew Sr.’s Motion to Suppress, and

Defendant Nathan Debrew Jr.’s Motion to Suppress Statement and Physical Evidence and

Memorandum in Support Thereof are denied.

       IT IS, THEREFORE, ORDERED that Nathan Debrew Sr.’s Motion to Suppress

[Doc. 35], is DENIED;



       4
          It is questionable whether Mr. Debrew Jr., as a passenger, has standing to challenge
directly the search of the trailer.

          “‘[W]ithout a possessory or property interest in the vehicle searched, ‘passengers lack
standing to challenge vehicle searches.’” United States v. DeLuca, 269 F.3d 1128, 1132 (10th
Cir. 2001) (quoting United States v. Eylicio-Montoya, 70 F.3d 1158, 1161, 1162 (10th
Cir.1995)). Indeed, in his written closing argument, Mr. Debrew Jr. appears to concede that he
lacks standing to mount a direct challenge to the search of the trailer. [See Doc. 119 at 1
(“Although a defendant [may] lack the requisite possessory or ownership interest in a vehicle to
directly challenge a search of the vehicle, the defendant may nonetheless contest the lawfulness
of his own detention and seek to suppress evidence found in the vehicle as the fruit of the
defendant’s illegal detention.”)].

       In this case, probable cause supported Officer Strain’s search. Accordingly, even if it
could be said that Mr. Debrew Jr. has standing to attack directly the search of the trailer, he
would not prevail.

                                                37
    Case 2:09-cr-02054-MCA   Document 131    Filed 12/31/09   Page 38 of 38



     IT IS FURTHER ORDERED that Nathan Debrew Jr.’s Motion to Suppress

Statement and Physical Evidence and Memorandum in Support Thereof [Doc. 50] is

DENIED.

     SO ORDERED this 31st day of December, 2009, in Albuquerque, New Mexico.



                                                      _____________________
                                                      M. CHRISTINA ARMIJO
                                                      United States District Judge




                                     38
